 

 

Case 1:19-cv-00925-JFR Document 1 Filed 10/01/19 PRYSR Ds

UNITED STATES DISTRICT COURT
ALBUQUERQUE, NEW MEXICO

Pro Se 5 (Rev. 12/16) Complaint for a Civil Case Alleging Negligence

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UNITED STATES DISTRICT COURT

MITCHELL R. ELFERS
for the CLERK [mn
District of New Mexico
Second Division

Wilfred Alexander Page

ET AL CaseNo. (Q0)495- TE

Albuquerque Citizens (to be filled in by the Clerk’s Office)

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint. If
the names of all the plaintiffs cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

Jury Trial: (check one) Yes [J No

-V-

Albuquerque Police Department

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the fall list of names.)

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COMPLAINT FOR A CIVIL CASE ALLEGING NEGLIGENCE
(28 U.S.C. § 1332; Diversity of Citizenship)

L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

needed.
Name Wilfred Alexander Page
Street Address 1509 Erbbe Street NE
City and County Albuquerque, Bernalillo
State and Zip Code New Mexico 87112
Telephone Number (505) 859-0688
E-mail Address Willfuss@gmail.com

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (if known). Attach additional pages if needed.

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Defendant No. 1

 

 

 

 

 

Name Albuquerque Police Department
Job or Title (if known) Northwest Area Command
Street Address 400 Roma Ave, NW

City and County Albuquerque Bernalillo

State and Zip Code New Mexico 87102

Telephone Number (505)768-2200

 

E-mail Address (if known)

 

Defendant No. 2 &
Name A\\\ox LR OAH A Be Palier Dept.

Job or Title (known)

Street Address 400 Rama AV]. Nw

City and County A“ -
State and Zip Code Nee ‘ L£xrcQ 3 102
Telephone Number \S05) T1o¥ —O200

E-mail Address (if known)

 

 

 

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code

 

 

 

 

 

Telephone Number
E-mail Address (ifknown)

 

 

Defendant No. 4

Name

 

Job or Title Gf known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

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Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Under 28 U.S.C. § 1332, federal courts may
hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
the same State as any plaintiff. Explain how these jurisdictional requirements have been met.

A. The Plaintiff(s)

1.

If the plaintiff is an individual
The plaintiff, (aame) —_ Wilfred Alexander Page , is a citizen of the

 

State of (name) New Mexico

 

If the plaintiff is a corporation

The plaintiff, (name) , is incorporated

 

under the laws of the State of (name) ;

 

and has its principal place of business in the State of (name)

 

(if more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

B. The Defendant(s)

1.

If the defendant is an individual

 

 

The defendant, (name) , is a citizen of
the State of (name) . Oris a citizen of
(foreign nation)

 

If the defendant is a corporation
The defendant, (name) Albuquerque Police Department , is incorporated under

the laws of the State of (name) New Mexico , and has its

 

 

principal place of business in the State of (name) Washington D.C.

 

Or is incorporated under the laws of (foreign nation) >

 

and has its principal place of business in (name)

 

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

C. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

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IV.

500,000

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

On (date) 2017 , at (place) Villa De Paz Town Homes 5

 

the defendant(s): (1) performed acts that a person of ordinary prudence in the same or similar circumstances
would not have done; or (2) failed to perform acts that a person of ordinary prudence would have done under the
same or similar circumstances because (describe the acts or failures to act and why they were negligent)

While being Placed under arrest and while screaming for help and yelling Police Brutality and having my mouth
open one or the Police officers (female) While | was screaming for help said Owe Wilfred don't bite me don't bite
me then as my mouth was open and | was screaming for help she forced her arm into my mouth in which my
natural reaction was to bite down.... while in arraignment my lawyer asked about the lapel videos from one of the
two officers present in which they both stated they could not recover nor did they have. The other officer (male)
stated that he was fearful that a phantom lighter was going to light his arm on fire in which | did not have as the

The acts or omissions caused or contributed to the cause of the plaintiff's injuries by (explain)

Severe Mental and Physical harm and mental anguish, bullying, targeting because of the fact | have mental
illness and Hate Crimes because of the fact that | am Gay. This has added much mental distress and anguish to
my PTSD.

 

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

| am asking for Damages and Mental anguish and | am also asking for a class action lawsuit in which the Actions
of the Albuquerque Police Department are looked into not only into my self and my own situation but also the
countless other citizens and peoples who rely on APD as Peace Officers and not Bullies and that our Fourth
amendment be upheld that one can live in peace and not in fear of unlawful or illegal police conduct or
harassment and brutality and ones Eighth Amendment be Upheld that no Cruel nor unusual Punishment be
inflicted nor any police brutality of any kind be inflicted because of prejudice on behalf of an APD officer because
of ones Race, Creed, Sexuality, Religion, Disability, Mental State, Nationality nor place of Origin nor any other
judgment on behalf of APD Or its Officers or any of its affiliates acting on its behalf.

 

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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

 

 

Date of signing: 9/30/2019
Signature of Plaintiff | Le Wu, ot Nig C-
Printed Name of Plaintiff WitfredAlexahder Page

 

B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney

 

 

Bar Number

 

Name of Law Firm
Street Address
State and Zip Code

 

 

 

Telephone Number
E-mail Address

 

 

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